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APPENDIX IV
TAB O
 

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LETTER: Textbook quest explained;
HEATHER GEESEY DOVER AREA SCHOOL BOARD DIRECTOR. York Daily Record. Yor, Pa: Jun 27, 2004, pg. 6
Abstract (Document Summary)

All we are trying ta accomplish with this task ig to choose 6 biolagy book thal teaches the most prevatent theories, The definition of
theory is merely a specuiative or an ideal circumstance. To present only ona theory of te give one option would be directly
tentradicting ouf mission statement

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Copyngat (t) 2004 Yerk Sunday News

This felter 8 ragard to the comments mada by Bath Eveland from York Township in the duns 20 York Sunday News. | assure you
{hal the Dover Area School Beard is not gcing against ae mission etatement, in fact, if yau read the stalement it says... ta equcale
our students ao thai they can ba contobuling members of society.

| do ned believe in teaching revisionist history. Our country was founded on Christian befiefs and principles. We are not looking For a
nook that is teaching students that this ia a wrong thing or @ right thing. ft rs just a fact,

Alt we are trying lo accomplish with this task is 19 choos¢ a biology book that teaches Ine most prevalent theories. The definition of
thaory is merely a speculative or an ideal circurnstance. To present only one theory oF la give one option would be directly

contradicling our mission statement.

You can teach creationism withoul its being Christianity, & can be presented as a highar power. Thal is where anctner part cf
overs mission statemend comes inte play. That parl would be in parinership with family and community, You as a parent can teach

your child your farmihy'’s ieverolcodyy,

HEATHER GEESEY

DOVER AREA SCHOOL BOARD OIRECTOR
Credit York Daily Record

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